      Case
       Case2:17-bk-22432-WB
            2:19-cv-09935-PA Doc 807 Filed
                             Document      06/09/20
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                                                              1 of 3 Page        Desc
                                                                           ID #:1126
                              Main Document    Page 1 of 3
                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            June 05, 2020


       No.:                      20-55582
       D.C. No.:                 2:19-cv-09935-PA
                                 In re: Point.360, et al v. Medley Capital Corporation, et
       Short Title:
                                 al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
Case
 Case2:17-bk-22432-WB
      2:19-cv-09935-PA Doc 807 Filed
                       Document      06/09/20
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                                                        2 of 3 Page        Desc
                                                                     ID #:1127
                        Main Document    Page 2 of 3



                      UNITED STATES COURT OF APPEALS
                                                                       FILED
                              FOR THE NINTH CIRCUIT
                                                                       JUN 05 2020
                                                                      MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 In the Matter of: POINT.360,                     No. 20-55582

                Debtor,
                                                  D.C. No. 2:19-cv-09935-PA
 ------------------------------                   U.S. District Court for Central
                                                  California, Los Angeles
 POINT.360, a California corporation,
                                                  TIME SCHEDULE ORDER
                Appellant,

   v.

 MEDLEY CAPITAL CORPORATION;
 MEDLEY OPPORTUNITY FUND II,
 LP,

                Appellees.



The parties shall meet the following time schedule.

Fri., June 12, 2020               Appellant's Mediation Questionnaire due. If your
                                  registration for Appellate CM/ECF is confirmed after
                                  this date, the Mediation Questionnaire is due within
                                  one day of receiving the email from PACER
                                  confirming your registration.
Mon., August 10, 2020             Appellant's opening brief and excerpts of record
                                  shall be served and filed pursuant to FRAP 31 and
                                  9th Cir. R. 31-2.1.
Case
 Case2:17-bk-22432-WB
      2:19-cv-09935-PA Doc 807 Filed
                       Document      06/09/20
                                26 Filed       Entered
                                         06/05/20  Page06/09/20 15:03:35
                                                        3 of 3 Page        Desc
                                                                     ID #:1128
                        Main Document    Page 3 of 3
Thu., September 10, 2020 Appellee's answering brief and excerpts of record
                         shall be served and filed pursuant to FRAP 31 and
                         9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: Ruben Talavera
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
